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use these                                              to supply JW Door, which

in turn allows JW Fiber to fulfill other orders by using the -

- doorskins that it would have used to fulfill JW Door's

orders but for the

   IV.    THE LEGAL FRAMEWORK

      To secure a preliminary injunction, Steves "must demonstrate

that (1) [it is] likely to succeed on the merits;                   (2) [it] will

likely suffer irreparable harm              absent an injunction;           (3)    the

balance    of hardships      weighs    in     [Steves']    favor;    and    (4)    the

injunction is in the public interest."             League of Women Voters v.

North Carolina, 769 F.3d 224, 236 (4th Cir. 2014)                   Steves has the

burden of proof on all four components of the test.

      Preliminary injunctions may be classified as being either

mandatory     or     prohibitory.       Here,     Steves      asserts      that    the

preliminary     injunction    it     seeks,     with    the    exception     of    one

provision,      is    prohibitory,    and      JELD-WEN       contends     that    the

injunction that Steves seeks is mandatory.               (ECF No. 46 at 6-7; ECF

No. 31 at 1.)      Thus, before turning to the merits of the Preliminary

Injunction Motion, it is necessary to resolve this dispute because

the measure of Steves' burden of proof depends on the nature of

the relief sought.        Specifically,       plaintiffs seeking prohibitory

injunctions must make a clear showing of their likelihood of

success; however, "[t]o justify a mandatory injunction,                           . the

movant must demonstrate a clear and convincing probability of

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